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  8
  9                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF CALIFORNIA
 10
 11
                                            Master File No. 3:16-CV-03044-L-MDD
 12
        IN RE ILLUMINA, INC.
 13     SECURITIES LITIGATION               CLASS ACTION
 14
                                            JOINT RULE 26(f) REPORT
 15
 16                                         Case Management Conference:
                                            Date: May 11, 2018
 17                                         Time: 10:30 AM
 18                                         Magistrate Judge: Hon. Karen S. Crawford
                                            Location: Telephonically
 19
 20
 21            Pursuant to the Honorable Karen S. Crawford’s March 29, 2018 Order
 22 Granting the Joint Motion to Excuse Early Neutral Evaluation and Set Case
 23 Management Conference (Doc. No. 51) (the “Scheduling Order”), Lead Plaintiff
 24 Natissisa Enterprises Ltd. (“Plaintiff”), and Defendants Illumina, Inc., Francis A.
 25 deSouza, and Marc A. Stapley (“Defendants”) (collectively, Plaintiff and
 26 Defendants are referred to as the “Parties”), held a conference on March 14, 2018,
 27   NY: 1100356-1
                                               1
 28                                                                   Joint Rule 26(f) Report
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  1 and again on April 20, 2018, in accordance with Federal Rule of Civil Procedure
  2 26(f). During those conferences, the Parties discussed the matters required by Rule
  3 26(f), the Civil Chambers Rules, and orders of this Court. The Parties now submit
  4 this Joint Discovery Plan in accordance with the Honorable Karen S. Crawford’s
  5 Orders.
  6 I.      Joint Proposed Litigation Schedule
  7         The Parties have met and conferred regarding a Proposed Joint Litigation

  8 Schedule. The Proposed Schedule is attached hereto as Exhibit 1. The Parties
  9 respectfully request that this Court approve the Proposed Schedule in full.
 10 II.     Rule 26(f)(3) Discovery Plan

 11         A.    Rule 26(f)(3)(A) – Rule 26(a)(1)(A-D) Disclosures
 12         Pursuant to the Court’s Scheduling Order, the service of initial disclosures

 13 shall occur on or before May 4, 2018.
 14         B.    Rule 26(f)(3)(B) – Anticipated Scope of Discovery
 15         The Parties agree that discovery should not be conducted in phases.

 16         Discovery Topics

 17         The Parties have discussed the likely topics of discovery in this action. Based

 18 on these discussions, one or more Parties may seek discovery on one or more of the
    following topics:
 19
         Illumina’s operational and organizational structure;
 20
         Illumina’s sales and revenue information (including forecasting, projections,
 21
          modeling, and shipments) for HiSeqX, HiSeq, and NextSeq products;
 22
         Illumina’s order system and manufacturing process for its HiSeq, NextSeq,
 23
          and HiSeqX products;
 24
         Illumina’s public statements, including investor relations, communications
 25
          with analysts, and disclosures filed with the SEC;
 26
 27
 28
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  1       Processes regarding Illumina’s forecasting, tracking sales/revenue, ordering,
  2         pipeline, and backlog;
  3       Illumina’s alleged efforts to improve financial forecasting prior to and
  4         following the end of the putative Class Period, including the measures
  5         allegedly discussed during the May 3, 2016 and November 1, 2016 conference
  6         calls;

  7       Illumina’s stock price during the putative Class Period, and for the purposes

  8         of calculating damages pursuant to 15 U.S. Code §78u-4(e);

  9       Plaintiff’s investment decisions and adequacy as a class representative;
          Class Certification and related issues;
 10
          Damages; and
 11
          Loss Causation.
 12
            The Parties do not all agree that each of the listed topics are relevant to this
 13
      action. Each party reserves the right to object to discovery on any or all of the listed
 14
      topics as well as to seek discovery on other topics not listed. However, the Parties
 15
      have agreed to meet and confer further concerning any disputed topics following the
 16
      service of document requests and/or deposition notices in an effort to resolve any
 17
      disagreements over the appropriate subject matter of discovery without the need for
 18
      motion practice.
 19
             Relevant time period for discovery.
 20
            The parties have a difference of opinion concerning the appropriate time
 21 period for discovery.
 22              Plaintiff’s Position
 23         Plaintiff intends to seek discovery relating to, among other things, Illumina’s
 24 sales for the period January 1, 2014, through March 31, 2017. Based upon public
 25 statements made by Defendants, Plaintiff alleges in its complaint that Illumina’s
 26 earnings miss during the third quarter of 2016 was due, at least in part, to a “trend”
 27
 28
                                                 3
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  1 that first emerged following the introduction of a new product line in January 2014.
  2 Specifically, Jay Flately, Illumina’s former Chief Executive Officer, represented that
  3 Illumina sold less “HiSeq” device because customers had been buying the
  4 “NextSeq” device instead and that this shift in consumer preferences was a “trend”
  5 that had been “building” for some time and “didn’t show up suddenly.” FAC, ¶27.
  6 Plaintiff, based upon a close review of Illumina’s public statements, alleged that this
  7 “trend” began almost immediately after Illumina introduced the HiSeq X and
  8 NextSeq devices to the market in 2014. FAC, ¶¶22-26. This “trend” is a key
  9 component to Plaintiff’s theory of liability, as Defendants’ statements to the public
      became increasingly more misleading as the “trend” for newer HiSeq models
 10
      continued to grow. Accordingly, whether and to what extent Defendants were
 11
      accounting for this “trend” when issuing its sales projections will be a key issue in
 12
      this case, especially when attempting to prove scienter on the part of Defendants.
 13
      Sales information dating back to January 2014 will, therefore, be a relevant topic for
 14
      discovery.
 15
                   Defendants’ Position
 16
            This case arises from Illumina’s third quarter 2016 earnings guidance, and
 17
      Defendants believe that discovery should accordingly focus on the period in 2016
 18
      when that guidance was developed and issued. What the Defendants knew or didn’t
 19
      know in 2014 or 2015 about alleged sales trends (if any) that existed at that time is
 20
      irrelevant, as the issue in dispute, with respect to the Defendants’ intent, is whether
 21 they had “actual knowledge that they would fail to hit their earnings guidance” when
 22 the third quarter 2016 forecasts were issued in July of 2016. See Ruling on
 23 Demurrer, ECF No. 39 at 10:1-7. Moreover, even assuming arguendo that the
 24 existence of a purported sales trend prior to July of 2016 has any relevance to this
 25 analysis, the first alleged impact of that trend on Illumina’s earnings did not occur
 26 until the beginning of 2016, according to Plaintiffs’ own Complaint. See FAC ¶ 26;
 27
 28
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  1 see also Ruling on Demurrer, ECF No. 39 at 2:15-19. As a result, there is no basis
  2 for taking discovery concerning earlier years. Expanding the discovery period by
  3 two full years to 2014, as Plaintiffs propose, would greatly expand the costs
  4 associated with discovery, particularly the collection and review of electronic
  5 documents, for no apparent purpose.
  6         C.    FRCP 26(f)(3)(C) - Electronically Stored Information
  7         In accordance with Federal Rule 26(f)(3)(C), the Parties have discussed
  8 electronically stored information. As guiding principles, the Parties agree to meet
  9 and confer in good faith concerning issues that arise with respect to the disclosure
 10 or discovery of electronically stored information, and to use their reasonable efforts
 11 to produce electronically stored information in the format preferred by the requesting
 12 party, including reasonable requests for production of such information with
    metadata intact.
 13
 14       D.     FRCP 26(f)(3)(D) – Privilege Issues
 15         In accordance with Federal Rule 26(f)(3)(D), the parties have discussed

 16 privilege and protection issues. The Parties anticipate negotiating a stipulated
    confidentiality agreement that would include an appropriate non-waiver provision
 17
    pursuant to Federal Rule of Evidence 502(d). The Parties have agreed to meet and
 18
    confer further to discuss the content and format of privilege logs and whether
 19
    particular categories of information, such as communications with litigation counsel
 20
    following the commencement of this action, need not be logged.
 21
           E.     FRCP 26(f)(3)(E) – Changes to Discovery Limitations
 22
           The Parties do not anticipate any changes to the rules on discovery limitations
 23
    and adopt the default limitations on discovery imposed by the Federal Rules of Civil
 24
    Procedure, local rules, and applicable case law. The Parties do, however, reserve the
 25
    right to seek leave of Court to exceed these discovery limitations if necessary.
 26
 27
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  1             F.    FRCP 26(f)(3)(F) – Other Discovery & Scheduling Orders
                In accordance with Federal Rule 26(f)(3)(F), the Parties have discussed the
  2
      need for other discovery or scheduling orders under Rule 26(c), 16(b), and 16(c).
  3
      They are negotiating a stipulated confidentiality agreement, which the Parties
  4
      anticipate filing with the Court in the next few weeks.
  5
  6 III.        Additional Discovery Issues (Chamber Rules)
  7             A.    Chamber Rule IV. B. 1. – Limited Discovery to Enable Settlement
  8             The Parties agree that a settlement is highly unlikely without meaningful
  9 discovery. This is a complex securities litigation in which Plaintiff estimates
 10 damages of the putative class at over $600 million, while Defendants dispute that
 11 they have any liability to Plaintiff or the putative class and have asserted numerous
 12 defenses to liability and damages. Without the ability to explore their respective
 13 claims and defenses in discovery, the Parties do not believe that settlement
 14 discussions would be productive.
 15             B.    Chamber Rule IV. B. 2. – Need for Electronically Stored
 16                   Information
                As discussed above, the Parties have discussed electronically stored
 17
      information. As guiding principles, the Parties agree to meet and confer in good faith
 18
      concerning issues that arise with respect to the disclosure or discovery of
 19
      electronically stored information, and to use reasonable efforts to produce
 20
      electronically stored information in the format preferred by the requesting party,
 21
      including reasonable requests for production of such information with metadata
 22
      intact.
 23
                C.    Chamber Rule IV. B. 3. – Issues Requiring Expert Evidence
 24
                This is a complex securities litigation. Therefore, the Parties anticipate
 25
      needing expert evidence in multiple areas, including damages, class certification,
 26
      and loss causation.
 27
 28
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  1         D.     Chamber Rule IV. B. 4. – Procedures to Resolve Privilege
            As guiding principles, the Parties agree to meet and confer in good faith
  2
      concerning issues that arise with respect to any claimed Privilege. The Parties have
  3
      agreed that any party claiming privilege will produce a privilege log detailing what
  4
      privilege is being asserted, except to the extent (if any) it is otherwise agreed by the
  5
      Parties. The Parties have agreed to meet and confer further to discuss the timing,
  6
      content and format of privilege logs and whether particular categories of
  7
      information, such as communications with litigation counsel following the
  8
      commencement of this action, need not be logged. After these steps, the Parties will
  9
      follow the steps required under Chamber Rule V.
 10
            E.     Chamber Rule IV. B. 5. – Whether a Protective Order will be
 11                Needed
 12         As discussed above, the Parties are negotiating a stipulated confidentiality
 13 agreement, which the Parties anticipate filing with the Court in the next few weeks.
 14
       Dated: May 4, 2018                /s/ Adam M. Apton
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 27                                      for Class

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  1
       Dated: May 4, 2018               /s/ Mark Chen
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  9                                     The New York Times Building
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 11                                     Tel: (212) 841-1000
 12                                     Attorneys for Defendants
 13
 14
 15                            SIGNATURE ATTESTATION
            Under Section 2.f.4 of the Court’s CM/ECF Administrative Policies, I hereby
 16
      certify that authorization for the filing of this document has been obtained from each
 17
      of the other signatories shown above and that all signatories have authorized
 18
      placement of their electronic signature on this document.
 19
 20                                By: /s/ Mark Chen
 21                                    Mark Chen
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  1                         Exhibit 1 to Joint Rule 26(f) Report

  2    Event                                                      Date
  3    26(a) Initial Disclosures                                  May 4, 2018
  4    Deadline to File Motion for Class Certification            September 14, 2018
       Deadline to Complete Depositions on Class                  October 26, 2018
  5    Certification Issues of Lead Plaintiff and Plaintiffs’
  6    Class Certification Expert (if any)
       Deadline to File Opposition to Motion for Class            November 16, 2018
  7    Certification
  8    Deadline for Complete Deposition of Defendants’            December 21, 2018
  9    Class Certification Expert (if any)
       Deadline to File Reply in Support of Class Certification   January 11, 2019
 10    Fact Discovery Deadline                                    May 31, 2019
 11    Expert Reports Deadline                                    June 28, 2019
 12    Rebuttal Expert Reports Deadline                           August 9, 2019
       Expert Discovery Deadline                                  September 20, 2019
 13
       Summary Judgment Motion Deadline                           November 15, 2019
 14    Opposition to Summary Judgment Motions                     January 10, 2020
 15    Reply in Further Support of Summary Judgment               February 7, 2020
 16    Pre-Trial Conference                                       To be scheduled at
                                                                  Court’s convenience
 17                                                               following decision
 18                                                               on summary
                                                                  judgment motions.
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   1                            CERTIFICATE OF SERVICE
   2          I hereby certify that on May 4, 2018, I electronically filed the foregoing
   3 document(s) with the Clerk of the Court by using the CM/ECF System for filing
   4 and transmittal of a Notice of Electronic Filing was automatically generated to the
   5 CM/ECF registrants on record. Participants in the case who are not registered
   6 CM/ECF users will be served by mail or by other means permitted by the court
   7 rules.
   8
   9 Dated: May 4, 2018                            s/ Mark Chen
  10                                               Mark Chen

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  28                               CERTIFICATE OF SERVICE
                                                           Master File No. 3:16-CV-03044-L-MDD
